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   EXHIBIT C
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                               TERMS AND CONDITIONS OF SALE

PURSUANT TO SECTIONS 363(b) AND 704(a) OF TITLE 11, UNITED STATES CODE,
FEDERAL RULE OF BANKRUPTCY PROCEDURE 6004, AND THE LOCAL RULES
OF THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF
NEW YORK, THE BANKRUPTCY TRUSTEE FOR PATRICIA LAMANNA AJKJA
PATRICIA ROSE MCCALLAN WILL SELL THE ESTATE'S INTEREST IN CERTAIN
REAL PROPERTY AT AUCTION SALE ON                                                 AT
EST.


  1. On June 4,2018(the "Petition Date"), Patricia Lamanna a/k/a Patricia Rose McCallan (the
       "Debtor"), tiled a voluntary petition for relief under the under chapter 7 of title 11, United
       States Code(the "Bankruptcy Code")in the United States Bankruptcy Court for the Eastern
       District of New York (the "Court"), assigned case number 18-73782(REG).

  2. Richard L. Stern, Esq.(the "Trustee") is the duly appointed, qualified, permanent Chapter
       7 Trustee of the Debtor's estate.


  3. These Terms and Conditions of Sale are promulgated in connection with the authorized
       public auction sale (the "Auction Sale")ofthe Debtor's real property located at 107 Wilson
       Place, Bellmore, New York 11710(the "Real Property").

  4. Maltz Auctions, Inc. d/b/a Maltz Auctions ("Maltz"), the Trustee's Bankruptcy Court
       retained auctioneer, will conduct the Auetion Sale.

  5. The Trustee is represented by Macco & Stem, LLP,2950 Express Drive South, Suite 109,
       Islandia, New York, 11749,(631)549-7900.

  6. The Auction Sale will be held on                                      at       EST(the "Sale
       Date") at the                                              .

  7. The Successful Purchaser (as hereinafter defined) of the Real Property, will, at the time
     and place of the conclusion of the Auction Sale, sign a memorandum of sale (the
       "Memorandum of Sale") in aeeordance with these Terms and Conditions of Sale.

  8. In order to be permitted to bid on the Real Property, prior to the commencement of the
     Auction Sale, each prospective bidder ("Bidder") must deliver to Maltz certified or bank
     check made payable to "Riehard L. Stem, Esq., as Chapter 7 Trustee" in an amount of
     $32,500(the "Qualifying Deposit"), which shall serve as a partial good faith deposit against
     payment of the purchase price by such competing bidder as Trustee determines to have
     made the highest or best bid for the Real Property (the "Successful Purchaser"). Within 48
       hours after conclusion of the Auction Sale, the Successful Purchaser shall deliver to the
       Trustee, by certified check or bank check made payable to "Richard L. Stem, Esq., as
       Chapter 7 Trustee" or by wire in immediately available federal funds, an amount equal to
       ten (10%) percent of the high bid realized at Auction Sale minus the Qualifying Deposit
       (together with the Qualifying Deposit, the "Deposit"), plus a five (5%) percent Buyer's
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   Premium (as hereinafter defined). The Buyer's Premium shall be deemed to have been
   eamed immediately upon the fall ofthe hammer and is due within 48 hours after conclusion
   of the Auction Sale. Failure of the Successful Purchaser to tender the ten (10%) percent
   Deposit of the high bid at Auction Sale and the Buyer's Premium within 48 hours after
   conclusion ofthe Auction Sale shall result in an immediate default under the terms ofthese
   Terms and Conditions ofSale and the Memorandum ofSale and shall result in the forfeiture
   ofall earnest monies paid, including the Buyer's Premium. The Successful Purchaser must
   execute, and thereby agree to be bound by these Terms and Conditions of Sale and the
   Memorandum of Sale. At the conclusion of the Auction Sale, Maltz will return the
   Qualifying Deposits to all unsuccessful Bidders.

9. Pursuant to an order of the Bankruptcy Court, the Successful Purchaser is solely
   responsible to pay Maltz five(5%) percent of the high bid at Auction Sale (the "Buyer's
   Premium"). The sum of the high bid at Auction Sale and the Buyer's Premium is defined
   herein as the "Purchase Price".


10. The Successful Purchaser must pay the balance of the Purchase Price for the Real Property
    to the Trustee by certified check or bank check or by wire in immediately available federal
    funds. The Successful Purchaser must close title to the Real Property at a date that is no
    more than thirty (30) days after the Court Approval Date, TIME BEING OF THE
    ESSENCE as to the Successful Purchaser, although such date may be extended solely by
    the Trustee. Notwithstanding the foregoing, the Trustee shall grant the Successful
    Purchaser a single thirty (30) day extension (the "Extension"), at the request of the
    Successful Purchaser, provided Successful Purchaser posts an additional, non-refundable
    deposit equal to ten (10%) percent of the Purchase Price prior to the tenth (10th) day
    following court approval(the "Additional Deposit"). The Additional Deposit shall be made
    by certified cheek or bank check made payable to "Richard L. Stern, Esq., as Chapter 7
    Trustee" or by wire in immediately available federal funds and, together with the original
    Deposit, shall be deemed the "Deposit". If Successful Purchaser elects to exercise the
    Extension, the Closing shall take place on or before the sixtieth (60th)day following court
    approval, TIME BEING OF THE ESSENCE as to the Successful Purchaser, although such
    date may be extended solely by the Trustee. If Successful Purchaser elects to exercise the
    Extension, Sueeessful Purchaser shall be responsible for all real estate taxes incurred from
   the 30"' day after the Court Approval Date tlirough elosing and shall pay interest on the
   Purchase Price at a nine(9%)percent annual rate from the 30"' day after the Court Approval
   Date through to the actual day of closing.

11. If the Successful Purchaser fails to post the total required ten (10%) percent Deposit and
    five(5%)percent Buyer's Premium within 48 hours following the Auction Sale, or fails to
    otherwise perform under these Terms and Conditions of Sale ("Successful Purchaser's
   Default"), the Trustee, in his sole and absolute discretion, shall be authorized to contact the
   second highest bidder(the "Backup Bidder")to see the Real Property to the Backup Bidder
   without any further notice or approval of the Bankruptcy Court, without giving credit for
   the Qualifying Deposit, Deposit and Buyer's Premium forfeited by Successful Purchaser,
   and upon such other terms and conditions as the Trustee deems appropriate. Thereafter,
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   the Backup Bidder shall be deemed for all benefits and obligations to be the Successful
   Purchaser.


12. The closing shall take place at the offices of Maceo & Stem, LLP, 2950 Express Drive
   South, Islandia, New York 11749(the "Closing").

13. The Successful Purchaser shall pay any and all costs and expenses in connection with the
    Closing related to obtaining a survey; fee title or mortgage insurance; title company
   endorsement, search and escrow charges; environmental, engineering or other Property
   inspections; appraisals, reports and other costs of Property due diligence; and County,
   State, City, or other real property transfer, deed or doeumentary tax,or other taxes imposed
   upon the sale due in connection with the transfer of the Real Property from the Trustee at
   Closing. The Successful Purchaser acknowledges that they will be responsible for the
   completion of any ACRIS forms, if required. The Tmstee shall not be required to execute
   any form of title affidavit (but may in its sole and absolute discretion) and all title
   exceptions customarily omitted from a title policy on account of such title affidavit shall
   be deemed permitted exceptions. The Successful Purchaser acknowledges that it will be
   responsible for the preparation ofall Closing documents required including, but not limited
   to, transfer tax fomis. In connection with the Closing and Closing date, the Successful
   Purchaser is hereby given notice that TIME IS OF THE ESSENCE against the
   Successful Purchaser and the failure of the Successful Purchaser to close for any
   reason whatsoever (except as otherwise nrovided hereinl including its failure to pay
   the balance of the Purchase Price on the Closing date, will result in an immediate
   forfeiture of the Deposit and Buver^s Premium and the termination of the Successful
   Purchaser's right to acquire the Real Pronertv under these Terms and Conditions of
   Sale and the Memorandum of Sale. The Successful Purchaser shall be obligated to close
   title to the Real Property and, except as expressly set forth herein, there is no contingency
   of any kind or nature that will permit the Successful Purchaser to cancel or avoid its
   obligation under these Terms ofand Conditions ofSale and the Memorandum ofSale other
   than the Trustee's inability to deliver insurable title to the Real Property. Further, the
   Successful Purchaser shall have demonstrated,to the satisfaction of Maltz and the Trustee,
   evidence of its ability to conclude the transaction upon these Terms and Conditions ofSale
   and the Memorandum of Sale, without delay. The Trustee reserves the right to reject any
   Purchaser or Bidder who the Trustee believes, in its sole discretion, is not financially
   capable of consummating the purchase of the Real Property. Expenses incurred by the
   Successful Purchaser, or any other Bidder, concerning any due diligence shall be the sole
   responsibility of such Bidder and, under no circumstances shall Maltz, the Trustee, the
   Debtor or their professionals be responsible for, or pay, such expenses.

14. The Successful Purchaser has five (5) days from the Date upon which the Trustee files a
    Motion with the Bankruptcy Court seeking approval ofthe Auction Sale(the "Filing Date")
    to order title, copy of which shall promptly be provided to the Trustee's attorneys. The
    Successful Purchaser has twenty (20) days from the Filing Date to advise the Trustee's
    attorneys (via email to cmacco@maccosternlaw.com)of any and all title issues or defects
    that would in any way be an impediment to the Closing on the sale of the Real Property.
    Failure of the Successful Purchaser to advise Trustee's attorneys within twenty (20) days
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   from the Court Approval Date of any sueh title issues or defects shall be deemed a waiver
   ofany and all rights to raise any such title issues or defects, with Tnistee reserving the right
   to specify a particular title company to insure title, provided said company is licensed in
   the State of New York.


15. The only commission that will be paid is to the Licensed Real Estate Broker, who registers
   the Sueeessful Purchaser in accordance with the Broker Participation Agreement and has
   received confirmation of receipt and acknowledgement of valid registration by Maltz.

16. The Successful Purchaser shall be entitled to collect past due rents, if any, and shall not
    receive an adjustment for security deposits, if any, at closing.

17. Maltz, the Trustee and the Debtor and their professionals have not made and do not make
    any representations or warranties as to the physical condition, expenses, operations, value
    of the land or buildings thereon, or any other matter or thing affecting or related to the Real
    Property or this Auction Sale, which might be pertinent to the purchase of the Real
    Property, including, without limitation, (i) the current or future real estate tax liability,
    assessment or valuation of the Real Property; (ii) the potential qualification of the Real
    Property for any and all benefits conferred by or available under federal, state or municipal
   laws, whether for subsidies, special real estate tax treatment, insurance, mortgages, or any
   other benefits, whether similar or dissimilar to those enumerated; (iii) the compliance or
   non-compliance of the Real Property, in its current or any future state, with applicable
   present or future zoning ordinances or other land use law or regulation, or the ability to
   obtain a change in the zoning or use, or a variance in respect to the Real Property;(iv) the
   availability of any financing for the purchase, alteration, rehabilitation or operation of the
   Real Property from any source, including, but not limited to, any state, city or federal
   government or institutional lender:(v) the current or future use of the Real Property;(vi)
   the current or future rents, other operating incomes or expenses; (vii) the presence or
   absence ofany laws,ordinances,rules or regulations issued by any governmental authority,
   agency or board and any violations thereof;(viii) the compliance or non-compliance with
   environmental laws and the presence or absence of underground fuel storage tanks, any
   asbestos, any lead paint or other hazardous materials anywhere on the Real Property, or
   notes or notices of violations oflaw or municipal ordinances, orders or requirements noted
   or issued by any governmental department, agency or bureau having authority as to but not
   limited to lands, housing, buildings, fire, health, environment and labor conditions
   affecting the Real Property. Each Bidder hereby expressly agrees and acknowledges that
   no such representations or warranties have been made. Maltz, the Trustee, the Debtor and
   their professionals shall not be liable or bound in any manner by expressed or implied
   warranties, guarantees, promises, statements, representations or information pertaining to
   the Real Property, made or furnished by Maltz, the Trustee or the Debtor or any real estate
   broker, agent,employee,servant or other person or professional representing or purporting
   to represent Maltz, the Trustee or Debtor unless such warranties, guaranties, promises,
   statements, representations or information are expressly and specifically set forth in writing
    within these Terms and Conditions of Sale and the Memorandum of Sale.
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18. The Real Property is being sold "AS IS" "WHERE IS","WITH ALL FAULTS",
    without any representations, covenants, guarantees or warranties ofany kind or nature, and
    free and clear ofany liens, claims, or encumbrances of whatever kind or nature, with such
    liens, if any, to attach to the proceeds of sale in such order and priority as they existed
    immediately prior to the Closing, and sale of the Real Property is subject to, among other
    things (a) any state of facts that an accurate survey may show; (b) any covenants,
   restrictions and easements ofrecord;(c)any state of facts a physical inspection may show;
   (d) any building or zoning ordinances or other applicable municipal regulations and
   violations thereof; (e) environmental conditions and (f) existing tenancies at time of
   closing; provided, however, the Real Property shall be delivered free and clear of any
   and ail monetary liens. By delivering their respective Qualifying Deposits, all Bidders
   acknowledge that they have had the opportunity to review and inspect the Real Property,
   the state of title thereof and laws, rules and regulations applicable thereto, and will rely
   solely thereon and on their own independent investigations and inspections of the Real
   Property in making their bids. Neither Maltz, the Trustee, the Debtor nor any of their
   colleetive representatives makes any representations or warrantees with respect to the
   permissible uses of the Real Property including, but not limited to, the zoning of the Real
   Property. All Bidders acknowledge that they have conducted their own due diligence in
   connection with the Real Property and are not relying on any information provided by
   Maltz, the Trustee, the Debtor, or their professionals. The Property will be sold subject to
   any and all violations requiring corrective action.

19. The Trustee shall convey the Real Property by delivery of a Trustee's deed without
   covenants.


20. The Trustee shall deliver the Real Property vacant oftenancies and occupancies at Closing.

21. Nothing contained in these Terms and Conditions of Sale is intended to supersede or alter
    any provisions of the Bankruptcy Code or otherwise interfere with the jurisdiction of the
    Bankruptcy Court. All ofthe terms and conditions set forth in these Terms and Conditions
    of Sale are subject to modification as may be directed by the Trustee or by the Court. The
   Trustee reserves the right to modify these Terms and Conditions ofSale at the Auction Sale
   or thereafter to maintain consistency with the provisions of the Bankruptcy Code and/or
   prior orders of the Court.

22. These Terms and Conditions of Sale will be read into the record, or specifically
   incorporated by reference, at the Auction Sale of the Real Property. By making a bid for
   the Real Property, all Bidders will be deemed to have acknowledged having read and
    understood these Terms and Conditions of Sale and have agreed to be bound by them.

23. If the Trustee is unable to deliver the Real Property in accordance with these Terms and
    Conditions of Sale for any reason whatsoever, the Trustee's and Maltz' only obligation
    will be to refund the Deposit and Buyer's Premium, without interest, to the Successful
    Purchaser and upon such refund, the Successful Purchaser will have no claim or recourse
    against the Trustee, Maltz. the Debtor or their professionals and shall have no further rights
    under these Terms and Conditions of Sale or Memorandum of Sale.
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   24. The Auction Sale of the Real Property is subject to confirmation by the Trustee. Trustee
       shall notify the Successful Purchaser whether the Auction Sale is confirmed.

   25. The Bankruptcy Court shall determine any disputes concerning the Auction Sale of the
       Real Property. By participating in the Auction Sale, all Bidders, including the Successftil
       Purchaser and the New Successful Purchaser, consent to the jurisdiction ofthe Bankruptcy
         Court to determine such disputes under the Debtor's pending case.


I have read these Terms and Conditions of Sale and agree to be bound by them.

By:

Print Name:

Dated:
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               MEMORANDUM OF SALE -SUCCESSFUL PURCHASER

High Bid Realized al Auction Sale:

5% Buyer's Premium:

Purchase Price:

The undersigned has this         day of                   , 2018, agreed to purchase the real
property located at 107 Wilson Place, Bellmore, New York 11710(the "Real Property")ofPatricia
Lamanna a/k/a Patricia Rose McCallan (the "Debtor') and sold by Richard L. Stem, Esq., the
Chapter 7 Trustee of the Debtor for the sum of $
DOLLARS and hereby promises and agrees to comply with the annexed Terms and Conditions of
Sale of the Real Property and this Memorandum of Sale.


SUCCESSFUL PURCHASER (Signature)                   SUCCESSFUL PURCHASER (Signature)


PRINT NAME                                         PRINT NAME



ADDRESS                                            ADDRESS



ADDRESS (City, State, Zip)                         ADDRESS(City, State, Zip)


TELEPHONE NUMBER                                   TELEPHONE NUMBER



EMAIL ADDRESS                                      EMAIL ADDRESS

Received from                               the sum of$                     DOLLARS,as a non-
refundable deposit for the purchase of the Real Property pursuant to the Terms and Conditions of
Sale.


This is to verify that the final Purchase Price in the above sale was for the sum of
$                               .


MALTZ AUCTIONS. INC.



SUCCESSFUL PURCHASER ATTORNEY INFORMATION

Name
Address
Phone
Email
